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FILED

SSOLANO COUNTY TAX COLLECTOR
JEANNE A. NAUGHTON, CLERK

Denise Dix, Tax Collections Manager

675 Texas Street #1900 NOV Ug 2073
Fairfield, California 94533-6337 U.S. BANAKUPIGY ¢
Telephone: (707) 784-7485 ae WARK, NJ COURT
E-mail: DDix@solanocounty.com DEPUTY

In Pro Se Priority Creditor
Solano County Tax Collector

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Chapter 11

In re:
Case No. 23-13359 (VFP)

BED BATH & BEYOND INC, et al.,
(Jointly Administered)

Debtors.!
HEARING DATE AND TIME:,

November 14, 2023, at 10:00 a.m.

COURTROOM: 3B

OPPOSITION OF SOLANO COUNTY TAX COLLECTOR TO BED BATH &
BEYOND INC.’S MOTION TO DETERMINE TAX LIABILITY AND STAY
PROCEEDINGS AS TO CERTAIN CALIFORNIA TAXING AUTHORITIES

(DKT. NOS. 2181 THROUGH 2181-3)

TO VINCENT F. PAPALIA UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF NEW JERSEY:

' The last four digits of debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
the debtors in these Chapter | 1 cases and each such debtor’s tax identification number may be obtained on the
website of the debtors’ claims and noticing agent at httpss://restructuring.ra.kroll.com/bbby. The location of
debtor Bed Bath & Beyond Inc.’s principal place of business and the debtors’ service address in these Chapter 11

cases is 650 Liberty Avenue, Union, New Jersey 07083.
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INTRODUCTION
1. Debtor Bed Bath & Beyond Inc. et al. (“Debtor”) has filed a motion
(“the Motion”) to determine tax liability and stay proceedings as to certain
California taxing authorities, including Solano County. Debtor requests that this
Court determine the fair market value of the property at issue to be what the
Debtor currently claims to be the appropriate amount for the tax year 2023
(reducing the assessments by greater than 90 percent,) and to stay all related
administrative or state proceedings related to the valuation of the property and
related deadlines. Priority Creditor Solano County Tax Collector (“Solano
County,”) did not receive a copy of the Motion until after the October 24, 2023
hearing date, and objects to the Motion on the basis that: 1) the Court should
exercise its discretion and abstain from hearing the Motion; and 2) the Debtor has
failed to overcome the presumption that the assets were correctly valued by the
Solano County Assessor, which based its assessment on information submitted by
the Debtor. Accordingly, Solano County requests that this Court deny the motion
and uphold its priority proof of claims for unpaid personal property taxes in full.
BACKGROUND FACTS

A. The Claims at Issue

2. Solano County filed two Priority Proof of Claims with the Claims Agent

Kroll on October 17, 2023: one for the amount of $9,444.46, claim number 17919;
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‘and the second for $2,112.46, claim number 17920. This was based on the

following:

a. Bed Bath & Beyond of CA LLC; Bed Bath & Beyond #488, PIN
0000129891; located at 128 Browns Valley Prkwy., Vacaville CA 95687,
total assessed value of $815,602, 2023 tax assessment of $9,444.46, claim
number 17919.

b. Bed Bath & Beyond of CA LLC; Bed Bath & Beyond #1315, PIN
0000123289; located at 105 Plaza Dr. Unit 107, Vallejo CA 94591, total
assessed value of $184,466, 2023 tax assessment of $2,112.46, claim
number 17920.

(Declaration of Georgina Tamayo (“Tamayo Decl.”), {| 2)

B. The Uniformity of Application of California’s complex Property Tax
Law to Ensure Proper Valuation is an Essential State Policy

3. The California Constitution requires uniformity of taxation of property
in California, except as provided in that Constitution or by Federal Law. (See Cal.
Const., art. XIII, § 1.) To this end, the California Constitution establishes
interrelated procedures used by elected officers to administer taxation of property
including assessment, equalization, computation, and collection to achieve this
uniformity. (See Cal. Const. art XIII.)

4, Title 18 of the California Code of Regulations contains state tax
regulations promulgated by the California State Board of Equalization (“SBE”).

They are available on the internet at https://www.boe.ca.gov/proptaxes/prop-tax-

rules.htm.
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5. The SBE also promulgates property tax rules that are binding statewide to
ensure consistent application of California property tax laws. (Cal. Gov. Code,

§ 15606, subd. (c).) The SBE has a statutory duty to publish information that will
promote uniformity in appraisal practices and in assessed values throughout the
state. (See Cal. Rev. & Tax. Code, § 401.5.)

6. Assessment Appeals Boards (AABs) have been established in each
County to handle disputes that arise between a taxpayer and a County Assessor.
These boards are independent bodies that ensure that all real and personal property
within the County are assessed fairly and according to applicable California law.
(Cal. Const. art. X111, § 16.)

7. A determination by the local assessment appeals board is subject to
judicial review by a California Superior Court. The application for the assessment
appeal and denial of relief by the AAB is a prerequisite to judicial review of a
property tax assessment. (Stenocord Corp. v. City and County of San Francisco
(1970) 2 Cal.3d 984, 990.) Should the trial court determine that the AAB’s
decision is legally flawed, its task is to remand the matter back to the AAB rather
than substitute its judgment for that of the AAB. (Heavenly Valley Ski Resort v. El
Dorado County Bd. of Education (2000) 84 Cal.App.4th 1323, 1343.)

8. Assessments of business personal property taxes are made based upon

information supplied by the taxpayer. (Cal. Rev. & Tax. Code, § 441.)
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9. The claims at issue here are based upon such information that Debtor
provided to the County on May 4, 2023, signed under penalty of perjury by the
VP of Tax of Bed Bath & Beyond of CA LLC. (Berdejo Decl., ] 2.) The Solano
County Assessor’s Office based its tax assessment values on this information
provided by the Debtor. (/d. at { 3.)

The Court Should Abstain from Hearing this Dispute Over Local Property
Tax Assessments

10. Debtor moves the court to hear what are essentially assessment appeals
pursuant to section 505 (a) of title 11 (Bankruptcy) of the United States Code.
Under this authority, hearing the matter is not mandated by the law. Section
505(a) provides that the hearing of this matter is left to the Court’s discretion.
Moreover, title 28 of the United States Code, section 1334(c) grants this court the
authority to abstain from hearing a section 505 proceeding. (See In re Sarfani,
Inc. (Bankr. N.D. Miss. 2015) 527 B.R. 241, 250-251.)

11. Abstention is appropriate when uniformity of assessment is at issue.
(See, e.g., Central Valley AG Enterprises v. United States (9th Cir. 2008) 531 F.3d
750, 764 [recognizing that uniformity of assessment is a basis for abstention]; Jn
re New Haven Projects Ltd. Liability Co. (2d. Cir. 2000) 225 F.3d 283, 288
[same]; In re Cable & Wireless USA, Inc. (Bankr. D, Del. 2005) 331 B.R. 568,
577-578 [Each tax authority must enjoy and apply a uniformity of assessment
within its tax jurisdiction”]; Jn re ANC Rental Corp. (Bankr. D. Del. 2004) 316

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B.R. 153, 159 [abstention is often used where uniformity of assessment is an -
issue]; In re Metromedia Fiber Network, Inc. (Bankr. $.D.N.Y. 2003) 299 B.R.
251, 284 [“Ad Valorem property taxation is governed by local law, and there is
compelling local interest in ‘uniformity of assessment’ in fairly allocating the
local tax burden”’}.)

12. Specifically, case law supports a finding of prejudice to a California
county should a bankruptcy court in another state determine the California state
tax issues implicated in the 505 Motion. (mn re Metromedia Fiber Network, Inc.
(Bankr. S.D.N.Y. 2003) 299 B.R. 251, 284 [“Ad Valorem property taxation is
governed by local law, and there is compelling local interest in ‘uniformity of
assessment’ in fairly allocating the local tax burden”]; See Jn re ANC Rental
Corp., supra, 316 B.R. at p. 159 [finding that a local taxing authority in Texas
would “be significantly prejudiced by having the taxes at issue determined by a
Delaware court”’].)

13. The instant case should follow a New York Bankruptcy case’s holding
and abstain from hearing the present motion. (/n re Metromedia Fiber Network,
Inc., supra, 299 B.R. 251.) Similarly, in Metromedia Fiber, a Chapter 11 debtor
moved the bankruptcy court under section 505 of title 11, alleging that the
assessments of debtor’s taxable property were based on valuations grossly in

excess of the property’s fair market value. (/d. at p. 256.) Quoting from the United
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States Supreme Court decision in Arkansas Corp. Com’n. v. Thompson (1941) 313
U.S. 132, 145, the bankruptcy court opined:
“(T]here is nothing in the history of bankruptcy or reorganization legislation
to support the theory that Congress intended to set the federal courts up as
super-assessment tribunals over state taxing agencies.... And the policy
of revising and redetermining state tax valuations . .. would be a complete
reversal of our historic national policy of federal non-interference with the
taxing powers of states.”
(Metromedia, supra, 299 B.R. at p. 282.)
14. The Metromedia court held that abstention under title 28 United States
Code, section 1334(a)(1), was proper because, among other factors, there is a
compelling local interest in uniformity of assessment. (Metromedia, supra, 299
B.R. at p. 283.) As this uniformity is an important interest for both Solano County
and California. abstention is appropriate in this case.
The Court Should Deny the Motion, Because the Debtor Has Failed to
Overcome the Presumption That the Assets Were Correctly Valued by the

Solano County Assessor, Which Based Its Assessment on Information Submitted
By the Debtor

15. Debtor’s only contention appears to be that the assessed tax values of
Solano County are different from what its own hired consultant opines to be the
“fair market value” of the property, and that based on its own consultant’s
assessment, the relevant taxes should be reduced by 94.8 percent and 91.90

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percent, respectively. (Doc. No. 2181-2, p. 9 [seeking to reduce the assessments
for two store locations in Solano County from $815,602 down to $42,186 (a 94.8
percent reduction), and from 184,466 down to 14,898 (a 91.9 percent reduction)].)
Debtor has not presented any basis for its belief that numerous taxing authorities
are using appraisal methods in violation of the applicable law governing them.

16. The only evidence Debtor submits in support of these substantial
reductions is the Declaration of John W. Lammert. (Doc. No. 2181-2.) Mr.
Lammert’s declaration is merely self-serving opinion that is devoid of any
evidence with respect to the particular properties at issue. As the taxpayer, Debtor
has the burden of proof, but does not and cannot rebut the presumption of
correctness afforded to the Solano County Assessor as a matter of law. (Cal. Rev.
& Tax. Code, § 167; See In re Cable & Wireless USA, Inc., supra, 331 B.R. at
pp. 579-580 [evidence failed to overcome presumption of the validity of local tax
assessments].)

Debtor improperly uses bankruptcy sales for valuation purposes

17. Debtor’s Motion not only declines to acknowledge that the valuations
used by the County were based on information provided by Debtor itself, but it
also incorrectly tries to use the purported values from the sales of assets as part of
its store closing process to determine the purported correct assessment. Mr.

Lammert alleges that he collected data from the Debtors’ sales of store assets and
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contends that the Debtor Sales Data approximates “the Fair Market Value
definition, considering a willing buyer and seller.” (Doc. No. 2181-2, 4 12.) The
Fair Market Value of the Property as indicated in Exhibit 1 to Mr. Lammert’s
declaration was based on these sale values. (/d. at { 13.)

18. As discussed, Mr. Lammert asserts that Solano County’s two tax
assessments, which were based on information submitted by the Debtor itself,
should be reduced from $815,602 down to $42,186 (a 94.8 percent reduction), and
from & 184,466 down to $14,898 (an 91.9 percent reduction). (Doc. No. 2181-2,
p. 9.)

19. Under California law, fair market value should be based on an “open
marker under conditions in which neither buyer nor seller could take advantage of
the exigencies of the other.” (Cal. Rev. & Tax. Code, § 110.) The SBE has opined
that sales of assets from a bankruptcy estates are not indicative of appropriate
California tax assessment values due to exigencies surrounding such sales. (See
California State Board of Equalization, Assessor’s Handbook Section 504, p. 140

[https://www.boe.ca.gov/proptaxes/pdf/ah504.pdf]) Courts have also recognized

that sales from bankruptcy estates are not competent to set fair market values.
(See, e.g., In re Cable & Wireless USA, Inc., supra, 331 B.R. at pp. 579-580 [use
of bankruptcy sale to value assets is “fundamentally flawed”’].)

20. The Debtor has failed to provide sufficient evidence to overcome the
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presumption that the tax assessment is correct; therefore, the Motion fails on the

merits and should be denied.

JOINDER OF ARGUMENTS SUBMITTED BY OTHER CALIFORNIA
TAXING ENTITIES

21. Solano County understands that Debtor is concurrently challenging the
assessed values of numerous other California taxing entities. (See Doc. No. 2180
[contesting liability in nine different counties] and Doc. No. 2181 [contesting
liability in 17 different counties]). Thus, to the extent the issues overlap, Solano
County expressly joins and incorporates by reference all arguments made by these
other California counties in opposition to this Motion.

RESERVATION OF RIGHTS

22. Solano County reserves its rights to amend, modify, or supplement this

response, or to provide any additional information should the Court so request.
CONCLUSION
23. The Court should abstain from hearing the Motion. Ifthe Court chooses
to hear the Motion, the Court should deny the Motion for the reasons stated above.
ADDITIONAL INFORMATION
24. Address to which Debtor must return any reply to this response:
Georgina Tamayo
Deputy Tax Collector
Solano County Tax Collector
675 Texas Street #1900
Fairfield CA 94533-6337

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- Phone: (707) 784-7485
Email: TTCCC@solanocounty.com

25. Claims involved (for Business Personal Property): Claim number(s)

17919, in the amount of $9,444.46 and 17920, in the amount of $2,112.46.

Dated: November 2, 2023 CHUCK LOMELI
Solano County Tax Collector

By:| — (Mp

Denise Dix
Tax Collections Manager

In Pro Se, Solano County Tax Collector

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DECLARATION OF ERASMO BERDEJO
I, Erasmo Berdejo declare under penalty of perjury, the following:

1. Iam employed as a Supervising Auditor Appraiser in the office of the
Solano County Assessor and have been so employed from November 2014 to the
present. This declaration is based upon my personal knowledge, as well as the
books and records of the County. If called upon to testify in this action, I could
and would testify competently to the matters set forth below.

2. On May 4, 2023, Bed Bath & Beyond of CA LLC submitted property
tax statements to the Solano County Assessor’s Office, signed by Toni-Anne
Andrisano, its VP of Tax under penalty of perjury.

3. The Solano County Assessor Recorder’s Office received and processed
these business property statements. The Assessor Recorder’s Office based its tax
assessment values on this information provided by Bed Bath & Beyond in its

business property statements.

4. The Solano County Assessor Recorder’s Office was not made aware of
the instant Motion in the pending Bankruptcy case concerning Bed Bath &
Beyond until after the October 24, 2023 hearing date for the Motion.

I declare under penalty of perjury that the foregoing is true and correct.

Dated: November 2, 2023 ea Zu? 7 a ) Fy ile )
Erasmo Berdejo
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DECLARATION OF GEORGINA TAMAYO

I, Georgina Tamayo, hereby declare and state under penalty of perjury, the
following:

1. [am currently employed in the office of the Solano County Tax
Collector (“Tax Collector”), and have been so employed from August 1997, to the
present. As an Accounting Clerk, I am responsible for filing proof of claims and
collecting property taxes and penalties where taxpayers have declared bankruptcy.
This declaration is based upon my personal knowledge, as well as the books and
records of the County. If called upon to testify in this action, I could and would
testify competently to the matters set forth below.

2. I filed the claims of the Solano County Tax Collector in this proceeding,
and I have reviewed the files of the Solano County Tax Collector in connection
with those claims. Attached as Exhibit A is a true and correct copy of the Proof
of Claim I submitted in this matter. Based on that examination, the Debtor owes
prepetition property taxes to the Solano County Tax Collector as follows:

A. Bed Bath & Beyond of CA LLC; Bed Bath & Beyond #488
PIN 000012981; located at 128 Browns Valley Prkwy, Vacaville
CA 95687, total assessed value of $815,602, 2023 tax assessment
of $9,444.46.

B. Bed Bath & Beyond of CA LLC; Bed Bath & Beyond

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#1315, PIN 0000123289, located at 105 Plaza Dr. Unit 107,
Vallejo CA 94591, total assessed value of $184,466, 2023 tax
assessment of $2,112.46.
C. The total due for the 2023-24 fiscal tax year is $11,556.92
under California State law.
D. — The Tax Collector filed a Priority Proof of Claim in the
amount of $9,444.46 and $2,112.46 with the Claims Agent Kroll
on October 17, 2023, in case Bed Bath & Beyond of California
Limited Liability Company No. 23-13371 and was assigned Claim
number(s) 17919 and 17920.

I declare under penalty of perjury of the laws of the United States of America

that the foregoing is true and correct.

Dated: November 2, 2023 Denne. Mirna

Georgina Tamayo C/

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EXHIBIT A

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Modified Official Form 410 9
Proof of Claim 04/22

Read the Instructions before fliiing out thls form. This form Is for making a claim for payment In a bankruptcy case.

Filters must leave out or redact Information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any

documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
. mortgages, and securlly agreements. Do not send original documents; they may be destroyed after scanning. 4f the documents are not available,

explain in an attachment.

A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both, 18 U.S.C. §§ 152, 157, and 35/t.

Fill tn all the information about the claim as of the date the case was filed. That date Is on the notice of bankruptcy (Form 309) that you received.

a Identify the Claim

1. Who Is the current SOLANO COUNTY TAX COLLECTOR

creditor?

Name of the current creditor (the person or entity to be paid for this claim)

Other names the creditor used with tha debtor

2. Has this claim been No
acquired from .
someone else? | 1 Yes. From whom?

3, Where should notices Where should notices fo the creditor besent? . Where should payments to the creditor be sent? (if ©
and payments to the different)
creditor be sent? 675 TEXAS STREET SUITE 1900

Federal Rule of
Bankruptey Procedure

(FRBP} 2002(g)
FAIRFIELD
CA
94533
Contact phone 7077847485 Contact phone
Contactemail itecc@solanocounty.com Contact emai

one already filed? Yes. Clalm number on court claims registry (if known) Filed on

4, Does this claim amend a
MM TDD 7? YYYY

§, Bo you know if anyone é No
else has filed a proof Wh de th fier filing?
of claim for this claim? Yes, Who ma € earlier Hing:

Ee Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number | No

you use to identify the Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor: 1
ebtor

7. How much fs the clalm? $ $9,444.46 Does this amount Include Interest or other charges?

|“ | No
|] Yes. Attach statement itemizing interest, fees, expenses, or other
charges required by Bankruptcy Rule 3004 (c)(2)(A).

8, What is the basis of the Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or creditcard.

claim? Attach redacted copies of any documents supporting the clalm required by Bankruptcy Rule 3001(c).

Limit disclosing information that is entitled to privacy, such as health careinformation.

LOCAL PROPERTY TAX

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9. Is all or part of the claim
secured?

No
Yes. The claim ls secured by a lien on property.
Nature of property:
CJ) Real estate. If the claim is secured by the debtor's principal residence, file a Mortgage Proof of Claim
Aifachment (Official Form 410-A) with this Proof of Claim.
CO] Motor vehicte
LJ Other. Describe:

Basis for perfection:
Attach redacted coples of documents, if any, that show evidence of perfection of a security Interest (for
example, a mortgage, lien, certificate of tile, financing statement, or other document that shows the lien has

been filed or recorded}

Value of property: : $

Amount of the claim that Is secured: $

Amount of the claim that is unsecured: $ (The sum of the secured and unsecured

Amount necessary to cure any default as of the date of thepetition:  $

Annual Interest Rate {when case was filed} %

| leixed

| Variable

lease?

10. Is this claim based ona No
Yes. Amount necessary to cure any default as of the date of the petition, $

11.

is this claim subject toa No

right of setoff?

| Yes. Identify the property:

42.

ts all or part of the claim Flo

entitled to priority under

11 U.S.C, § 507(a)?

A claim may be parily
priority and partly
nonpriority. For example, .
in some categories, the
law fimits the amount
entitled fo priority,

Vv Ves. Check one:

Domestic support obligations (including allmony and child support) under $

amounts should match the amount in Hine 7,)

Amount entitled to priority

11 ULS.C. § S07(a)( 1A) of (8){1)(B).

[| Up to $3,350" of deposits toward purchase, lease, or rental of property or services for

personal, farnily, or household use. 11 U.S.C. § 507(a}(7), $
ir] Wages, salaries, or commissions (up to $15,150*) earned within 180 days before the
bankruptcy petition is fied or the debtor's business ends, whichever is earlier. 5.
11 U.S.C. § 507(a}(4).
T7] Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a}(8). 3 $9,444.46
$

Fr] Contributions to an employee benefil plan. 11 U.S.C. § 507{a)}(5),

Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies, $

* Amounts are subject to adjustment on 4/01/25 and every 3 years after that for cases begun on or after the date of adjustment,

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13. Is all or part of the IV INo
claim entitled to

administrative priority "Ives. Indicate the amount of your claim arising from the value of any goods received = §

pursuant to by the Bebtor within 20 days before the date of commencement of the above case, in
41 :(U.S.C, § 503(b)(8)7 which the goods have been sold to the Debtor in the ordinary course of such
Debtors business. Attach documentation supporting such claim,

14. Is all or part of the [7]No
claim being asserted pre .
as an administrative Flves. Indicate the amount of your claim for costs and expenses of administration of

the estates pursuant to 503(b}, other than section 503(b)(9), or 507(a){2). Attach
documentation supporting such claim, If yes, please indicate when this claim was
Incurred:

expense claim?

On or prior to June 27, 2023: $

_.| After June 27, 2023; $

Total Administrative Expense Clalm Amount: $

THIS SECTION SHOULD ONLY BE USED BY CLAIMANTS ASSERTING AN ADMINISTRATIVE EXPENSE CLAIM ARISING AGAINST ONE OF THE
ABOVE DEBTORS FOR POSTPETITION ADMINISTRATIVE CLAIMS, THIS SECTION SHOULD NOT BE USED FOR ANY CLAIMS THAT ARE NOT
OF A KIND ENTITLED TO PRIORITY IN ACCORDANCE WITH 11 U.S.C, §§ 503({B} AND 507(A){2}; PROVIDED, HOWEVER; THIS SECTION
SHOULD NOT BE USED FOR CLAIMS PURSUANT TO SECTION 503(5}(9) OF THE BANKRUPTCY CODE,

The person completing Cheek the appropriate box:
this proof of claim must
sign and date it.

FRBP 9011(b),

if you file this claim
electronicaily, FRBP
§005(a}(2) authorizes courts

| am the creditor.

| am the creditor's attorney or authorized agent.

tam the trustee, or the debtor, or their authorized agent, Bankruptcy Rule 3004.
Fam a guarantor, surety, endorser, or other codebtor, Bankruptcy Rule 3005.

to establish local rules i understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
specifying what a signature amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
is. I have examined the information in this Proof of Claim and have a reasonable belief that the information is true

and correct.

A person who files a , ,
| declare under penally of perjury that the foregoing is true and correct,

fraudulent claim could be
fined up fo $500,000,
imprisoned for up to §

years, or both,
48 U.S.C. §§ 152, 157, and | . .
3671. 10/17/2023

Signature
Name of the person who Is completing and signing this claim:
X GEORGINA TAMAYO
ame
First name Middle name Last name
vite DEPUTY
Company
Identify the corporate servicer as the company if the authorized agent is a servicer.
675 TEXAS STREET STE 1900
Address
Number Street
FAIRFIELD CA 94533
City State ZIP Code
Contactprone 1077847845 Email ttecc@solanocounty.coom

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Additional Address 1
Name:

Address 1:

Address2:

Address3:

Address4:

City:

State:

Postal Code:
Country:

Contact Phone:
Contact Email:

Additional Address 2
Name:

Address:

Address2:

Address3:

Address4:

City:

State:

Postal Code:

Country:

Contact Phone:
Contact Email:

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Attachment Filename:
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KROLL

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ation: 559641 -OVHRG- 96997071 1

Claim Electronically Subritte (uTa): 2023- 10- ree ie

Submited by SOLANO COU JNTY TAX COLLE TOR |

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Modified Official Form 410 ocument — Page 21 of 27

Proof of Claim 04/22

Read the Instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case.

Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents, Attach redacted copies of any
documents that support the claim, such as promissary notes, purchase orders, involces, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements, Do not send original documents; they may be destroyed affer scanning. If the documents are not available,
explain In an attachment.

A person who fites a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

Fill [1 all the Information about the claim as of the date the case was filed. That date Is on the notice of bankruptcy (Form 309) that you received.

Identify the Claim

1. Who is the current SOLANO COUNTY TAX COLLECTOR

creditor?

Name of the currant creditor (the person of entity to be paid for this claim)

Other names the creditor used with the debtor

2. Has this claim been No

acquired from i
someone else? | | Yes. From whom?

3. Where should notices | Where should notices to the creditor besent? Where should payments to the creditor be sent? (if
and payments to the different}
creditor be sent? 675 TEXAS STREET SUITE 1900
Federal Rule of
Bankruptcy Procedure
{FRBP) 2002(g)

FAIRFIELD

CA

94533

Contact phane 7077847485 Contact phone
Contact email ttecc@solanocounty.com Contact emall

one already filed? —+Yes. Claim number on court claims registry {if known) Filed on

4, Does this claim amend Ht:
MM OOD) Of ¥YYY

5, Do you know if anyone LH No

else has filed a proof 1 h ier fi
of claim for this claim? ] Yes. Who made the earlier filing?

Ea Information About the Claim as of the Date the Case Was Filed

6. Do you have any number 4 No
— 3.2 8 9g

yor se to identify the Yes. Last 4 digits of the debtor's account or any number you use to identify thedebtor: 9 _& YS
ebtor

$ $2,112.46 _ Does this amount include interest or other charges?

|“ 4 No

| Yes. Attach statement itemizing interest, fees, expenses, or other
charges required by Bankruptcy Rule 3001(c)(2)(A).

7. How much is the claim?

8, What Is the basis of the Examples: Goods sold, money loaned, lease, services performed, personal injury of wrongful death, or creditcard.

claim? Alfach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001 (c}.

Limit disclosing information that is entitled to privacy, such as health careinformation.

LOCAL PROPERTY TAX

Proof of Claim page #

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9. Is alt or part of the claim No

secured? Yj Yes. The claim is secured by a lien on property.

Nature of property:

() Real estate. If the clalm Is secured by the debtor's principal residence, file a Mortgage Proof of Claim
/ Atfachment (Official Form 410-A) with this Proof of Claim.

£) Motor vehicle

C) other, Beseribe:

Basis for perfection:
Attach redacted coples of documents, if any, that show evidence of perfection of a security interest (for
example, a morigage, lien, certificate of title, financing statement, or other document that shows the lien has
been filed or recorded.)

Value of property: . $

Amount of the claim that is secured: $

Amount of the claim that Is unsecured: $. (The sum of the secured and unsecured
. "amounts should match the amount in line 7.)

Amount necessary to cure any default as of the date of the petition: 5.

Annual interest Rate (when case was filed} %

|| Fixed

} {Variable

10, Js this clalm based ona No
lease? ;
Yes. Amount necessary to cure any default as of the date of the petition. $

1i.ts tris faim ep clet toa No
right of seto °
F | Yes. Identify the property:

12. Is all or part of the claim F INo

d —
USC §50%a [v7 Ives. Check one: Amount entitled to priority
A claim may be partly F ] Domestic support obligations (including alimony and child support) under
priority and partly 41 U.S.C. § 5O7(a)(1)(A) or (a)t1}(B). $
nonpriority. For example,
in some categories, the | Up to $3,350" of deposits toward purchase, lease, or rental of property or services for
law limits the amount personal, family, or household use. 11 U.S.C. § 507(a){7).
entitled to priority.

Wages, salaries, or commissions (up to $15,150") earned within 180 days before the

bankruptcy petition Is filed or the debtor's business ends, whichever Is earlier.

11 U.S.C, § 607(a}{4). $2,112.46

[7] Taxes or penalties owed to governmental units. 17 U.S.C, § 507(a)}(8). $
[7] contributions to an employee benefit pfan. 11 U.S.C. § 507(a)(5). $
Other, Specify subsection of 11 U.S.C. § 507(a)( _) that applies. $

* Amounts are subject to adjustment on 4/01/25 aad every 3 years after that for cases begun on or after the date of adjustment.

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43, Is all or part of the
claim entitled to
administrative priority
pursuant to
11 U.S.C, § 503(b}(9)?

[Jno

F"Wes. Indicate the amount of your claim arising from the value of any goods received = $

by the Debtor within 20 days before the date of commencement of the above case, in
which the goods have been soid to the Debtor in the ordinary course of such
Debtor's business, Attach documentation supporting such clalim.

14. Is all or part of the
claim being asserted
as an administrative
expense claim?

[7 ]No

[Ives Indicate the amount of your claim for costs and expenses of administration of
the estates pursuant to 503(b), other than section 503(b)(9}, or 507(a}(2). Attach
documentation supporting such claim. [if yes, please indicate when this claim was
incurred:

On or prior to June 27, 2023: $
a $

After June 27, 2023:

Total Administrative Expense Claim Amount: $

THIS SECTION SHOULD ONLY BE USED BY CLAIMANTS ASSERTING AN ADMINISTRATIVE EXPENSE CLAIM ARISING AGAINST ONE OF THE
ABOVE DEBTORS FOR POSTPETITION ADMINISTRATIVE CLAIMS. THIS SECTION SHOULD NOT BE USED FOR ANY CLAIMS THAT ARE NOT
OF A KIND ENTITLED TO PRIORITY IN ACCORDANCE WITH 114 U.S.C. §§ 503(B} AND 507(A)}{2); PROVIDED, HOWEVER, THIS SECTION
SHOULD NOT BE USED FOR CLAIMS PURSUANT TO SECTION 603(B)(9) OF THE BANKRUPTCY CODE,

i Sign Below

The person completing
this proof of claim must
sign and date it.

FRBP $011({d)}.

If you fite this claim
electronically, FRBP
§005(a}(2)} authorizes courts
to establish local rules
specifying whal a signature
is.

A person who files a
fraudulent claim could be
fined up to $500,000,
imprisoned for up to §
years, or both.

48 U.S.C. §§ 152, 187, and
3571.

Check the appropriate box:

tam the creditor.

| am the creditor's attorney or authorized agent.

| arn the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004,
L | am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rute 3005.

| understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.

1 have examined the information in this Proof of Claim and have a reasonabte belief that the information is true
and correct.

| declare under penalty of perjury that the foregoing is true and correct.

JOD 1ort72023

Name of the person who is completing and signing this claim:

GEORGINA TAMAYO

Signature

Name

Firstname Middle name Last name
re DEPUTY
Company
Identify the corporate servicer as the company If the authorized agent is a servicer,
675 TEXAS STREET STE 1900
Addrass
Number Street
FAIRFIELD CA 94533
City State ZIP Code
Contactphone 077847485 Email ttecc@solanocounty.com

Proof of Claim page 3

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Additional Address 1
Name:

Address‘:

Address2:

Address3:

Address4:

City:

State:

Postal Code:
Country:

Contact Phone:
Contact Email:

Additional Address 2
Name:

Address:

Address2:

Address3:

Address4:

City:

State:

Postal Code:

Country:

Contact Phone:
Contact Email:

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S ” " tece@solanoeounty. com

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PROOF OF SERVICE

STATE OF CALIFORNIA, COUNTY OF SOLANO
I am a resident of or employed in the County of Solano, State of California. I
am over the age of 18. I am employed by the County of Solano (County) and my
business address is County of Solano Tax Collector’s Office, 675 Texas Street,
Suite 1900, Fairfield, California 94533.

On November 2, 2023, I served the attached:
OPPOSITION OF SOLANO COUNTY TAX COLLECTOR TO BED BATH
& BEYOND INC.’S MOTION TO DETERMINE TAX LIABILITY AND
STAY PROCEEDINGS AS TO CERTAIN CALIFORNIA TAXING
AUTHORITIES
(DKT. NOS. 2181 THROUGH 2181-3)

on:

KIRKLAND & ELLIS LLP COLE SCHOTZ P.C.

Joshua A. Sussberg Michael D. Sirota, Esq.

Emily E. Geier, Warren A. Usatine, Esq.

Derek I. Hunter Felice R. Yudkin, Esq.

601 Lexington Avenue Court Plaza North, 25 Main Street

New York, New York 10022 Hackensack, New Jersey 07601

Telephone: (212) 446-4800 Telephone: (201) 489-3000

Facsimile: (212) 446-4900 msirota@coleschotz.com
joshua.sussberg@kirkland.com wusatine@coleschoiz.com
emily.geier@kirkland.com fyudkin@coleschotz.com
derek. hunter@kirkland.com

[X] by overnight delivery. I enclosed a true copy of each of said documents
in a sealed envelope or package provided by an overnight delivery carrier
addressed to the above-named person(s) as indicated above, with delivery fees
paid or provided for. I placed the envelope or package for collection and
overnight delivery at an office or a regularly maintained drop box of the overnight
delivery carrier.

[xX] (STATE) I declare under penalty of perjury under the laws of the United
States of America that the foregoing is true and correct. Executed on November

2, 2023, at Fairfield, California. be a
plignso AINA

a Stephanie Martinez

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voress
ORIGIN ID:CCRA (707) 784-6305 SHIP DATE: 03NOV23
SOLANO COUNTY TAX COLLECTOR CKD: 2583S490/INETAS35
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FAIRFIELD, CA 94533 BILL SENDER rm
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